Case 2:19-cr-20492-MAG-MKM ECF No. 211, PageID.1030 Filed 01/12/21 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                             Case No. 19-20492

                       Plaintiff,                      HON. MARK A. GOLDSMITH
 v.

 TRISTAN MURPHY,

                       Defendant.
                                       /

                      AMENDED OPINION & ORDER
      GRANTING THE GOVERNMENT’S MOTION TO CONTINUE AND TO FIND
                     EXCLUDABLE DELAY (Dkt. 207)

        This matter is before the Court on the Government’s motion to continue and to find

 excludable delay from December 7, 2020, to a new trial date of June 7, 2021 (Dkt. 207). On

 December 4, 2020, Defendants Darrell Reed, Kai Rivers, Devon Newby, Delano Ross, and Jamal

 Ritter filed a stipulation waiving their rights under the Speedy Trial Act and agreeing to

 excludable delay through a new trial date of June 7, 2021.    See 12/4/20 Stipulation & Order

 (Dkt. 206). The Court entered an order finding a period of excludable delay through that new

 trial date. Id. Defendant Tristan Murphy alone refused to waive his rights under the Speedy

 Trial Act, prompting the Government to file the instant motion.       Murphy has not filed a

 response. For the reasons that follow, the Court grants the Government’s motion.

                                       I. DISCUSSION

        The Speedy Trial Act mandates that a defendant be brought to trial within seventy days

 of filing or public notice of “the information or indictment, or from the date the defendant has

 appeared before a judicial officer of the court in which such charge is pending, whichever date

 last occurs.” 18 U.S.C. § 3161(c)(1). In cases where “multiple defendants are charged together

 and no severance has been granted, one speedy trial clock governs.” United States v. Cope, 312
Case 2:19-cr-20492-MAG-MKM ECF No. 211, PageID.1031 Filed 01/12/21 Page 2 of 5




 F.3d 757, 776 (6th Cir. 2002). Thus, “the excludable delay of one defendant is ascribed to that

 of all of his co-defendants.” Id. at 776-77.

         On September 25, 2019, Murphy was charged with conspiracy to commit Hobbs Act

 robbery in violation of 18 U.S.C. § 1951(a).       2d Superseding Indictment (Dkt. 76).        On

 September 27, 2019, the Court entered a stipulated order finding excludable the period from

 September 15, 2019, through a trial date of December 2, 2019 (Dkt. 79). On January 2, 2020,

 the Court entered a second stipulated order finding excludable the period through a new trial date

 of August 24, 2020 (Dkt. 129).1 Most recently, on August 6, 2020, the Court entered a third

 stipulated order finding excludable the period through a new trial date of December 7, 2020 (Dkt.

 189).   Thus, December 7, 2020, is the operative date that currently governs the proceedings

 with respect to Murphy.    As indicated above, Murphy’s codefendants stipulated on December

 4, 2020, to a finding of excludable delay through a new trial date of June 7, 2021.

         The Speedy Trial Act, however, contains numerous provisions preventing the seventy-

 day period from running, including delay due to continuances granted by district courts.     Such

 delays are excluded from the seventy-day period if “the ends of justice served by taking such

 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

 § 3161(h)(7)(A).   For the time of the delay to be excludable, a court must set forth on the record

 “its reasons for finding that the ends of justice served by the granting of such continuance

 outweigh the best interests of the public and the defendant in a speedy trial.”        Id.   When

 granting such an “ends of justice” continuance, a district court should weigh factors such as

 (i) whether failure to grant a continuance would render continuation of the proceedings




 1
   On January 2, 2020, Murphy filed a motion seeking to rescind his Speedy Trial waiver made in
 connection with this stipulation (Dkt. 133). The Court denied this motion (Dkt. 157).
                                                2
Case 2:19-cr-20492-MAG-MKM ECF No. 211, PageID.1032 Filed 01/12/21 Page 3 of 5




 impossible, or result in a miscarriage of justice, (ii) the complexity of the case and time needed

 for preparation, and (iii) the continuity of counsel.   18 U.S.C. § 3161(h)(7)(B).

          The Government argues that these factors weigh in favor of granting a continuance.

 First, it contends that a continuance is necessary under 18 U.S.C. § 3161(h)(7)(B)(i), as

 continuation of the case would be impossible in light of the exigent circumstances presented by

 the COVID-19 pandemic.             The Court agrees.    On November 15, 2020, the Michigan

 Department of Health and Human Services issued an emergency order enacting a “three-week

 pause” limiting indoor gatherings.2 This order was extended in part through December 20,

 2020, and again through January 15, 2021.3 Further, the Court remains closed to the public and

 has indefinitely postponed in-court proceedings, including trials, given the impairment of counsel

 to prepare for trial, the “reduced ability to obtain an adequate spectrum of jurors,” and

 recommendations from public health organizations to limit the presence of counsel and court

 personnel in the courtroom. Administrative Order 20-AO-039; see also Administrative Order

 20-AO-038 (revised) (“Jury trials will commence on a date yet to be determined, and then only

 for critical criminal trials.”).    Moreover, the Court has issued a blanket determination of

 excludable delay for Speedy Trial purposes. Administrative Order 20-AO-039. It is uncertain

 when the Court will reopen to personnel or the public, let alone when jury trials will resume.

          In light of the grave public health concerns at stake, it is unlikely that an in-person jury

 trial can safely and realistically occur in the courtroom until, at the earliest, June 2021. Although

 new cases of the virus have plateaued in Michigan, COVID-19-related deaths and

 hospitalizations remain alarmingly high both in Michigan and throughout the nation.4 While


 2
     See https://perma.cc/E4JT-5XU7; https://perma.cc/B9JM-3HBP.
 3
     See https://perma.cc/FW5W-HTT8; https://perma.cc/8TTD-HSKP.
 4
     See https://perma.cc/VGL3-U7GG; https://perma.cc/NR4M-Q8HH.
                                                3
Case 2:19-cr-20492-MAG-MKM ECF No. 211, PageID.1033 Filed 01/12/21 Page 4 of 5




 vaccines are now available, their rollout has been plagued with delays and it remains uncertain

 when they will become widely available.5 Based on these circumstances and the uncertainties

 surrounding COVID-19, the Court concludes that it is unable to hold a jury trial in a manner that

 promotes public safety until, at the earliest, June 2021. Accordingly, the ends of justice are

 served by excluding the time between December 7, 2021, and June 7, 2021.

          Second, the Government maintains that a continuance is necessary under 18 U.S.C.

 § 3161(h)(7)(B)(ii), as counsel cannot adequately prepare for trial within the present timeframe.

 As the Government points out, Defendants are accused of engaging in a conspiracy to rob jewelry

 stores across the nation. Thus, because this trial involves numerous out-of-state witnesses,

 pandemic-related restrictions on movement, meetings, and travel preclude counsel from

 effectively reviewing discovery materials and preparing for trial. In addition, defense counsel

 are currently unable to meet with detained clients, as many jails have suspended attorney

 visitation. Indeed, counsel for five Defendants have stipulated that they are unable to effectively

 prepare for trial by accessing and reviewing necessary discovery, meeting with their clients, and

 interviewing witnesses—all activities that have been curtailed under restrictions, policies, and

 recommendations designed to mitigate the spread of COVID-19. Therefore, the Court agrees

 that a miscarriage of justice is likely should Defendants proceed to trial, as counsel would not be

 afforded adequate time to prepare.

                                       II. CONCLUSION

          For the foregoing reasons, the Court grants the Government’s motion to continue and to

 find excludable delay from December 7, 2020, to a new trial date of June 7, 2021 (Dkt. 207).




 5
     See https://perma.cc/EEE2-C6SW.

                                                  4
Case 2:19-cr-20492-MAG-MKM ECF No. 211, PageID.1034 Filed 01/12/21 Page 5 of 5




 Accordingly, pursuant to 18 U.S.C. § 3161(h)(7)(A), the time between December 7, 2020, and

 June 7, 2021, is excluded as to Defendant Murphy.

        Accordingly, the Court sets the following dates:

         A. January 21, 2021, for motion cutoff;

         B. February 21, 2021, for the Government to respond;

         C. March 1, 2021, for Murphy to file replies;

         D. April 21, 2021 at 2:00 p.m., for a final plea cut-off hearing;

         E. May 19, 2021 at 2:00 p.m., for the final pretrial conference; and

         F. June 7, 2021 at 8:30 a.m., trial will begin.

        SO ORDERED.


 Dated: January 12, 2021                             s/Mark A. Goldsmith
 Detroit, Michigan                                   MARK A. GOLDSMITH
                                                     United States District Judge




                                                 5
